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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                FAYETTEVILLE DIVISION

UNITED STATES OF AMERICA                                                        PLAINTIFF

        ATTORNEYS:           Carly Marshall          William Clayman
                             Dustin Roberts

V.                            CASE NO. 5:21-CR-50014-001

JOSHUA JAMES DUGGAR                                                          DEFENDANT

        ATTORNEYS:           Justin Gelfand          Ian Murphy
                             Travis Story

JUDGE: TIMOTHY L. BROOKS                                          REPORTER: PAULA BARDEN

                                                              COURT CLERK: SHERI CRAIG

                                      MINUTES
                           CRIMINAL JURY TRIAL (DAY SEVEN)
                                   December 8, 2021

 TIME       MINUTES
 8:27 am    Final Jury Instruction Conference
                   CX#7-E - Email from Counsel - 12/7/21
                   CX#10 - Final Jury Instructions (annotated)
                   CX#11 - Final Jury Instructions
            Court Convenes with Jury
            Jury is instructed as to the law
            Closing Arguments by Counsel
            Alternate Juror #6 released
 12:17 pm   Jury retires to begin deliberations
 12:38 pm   Court recesses
 1:41 pm    In Chambers Conference with Counsel
            CX#12 - Records produced in Collateral Hearing re Recording Device Issues
 1:54 pm    Court recesses
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           CX#13 - Communication from Jury
 2:23 pm   Court Reconvenes
           Limiting Instruction read to the Jury by the Court
           CX#1 - Audio Recording of Duggar Interview – 11/8/19 - played in its entirety for
           the Jury
 3:04 pm   Jury retires to resume deliberations
           CX#14 - Juror 22 orally requested calendar from May 2019 to Present - Declined
           by Court by Note to Jury
 3:15 pm   Court recesses
 4:57 pm   Jury Panel returned to courtroom and informed Court they want to resume
           deliberations in the morning
           Recess Instruction read to the Jury
           Jury Released until 8:30 am tomorrow
 5:09 pm   Court Adjourned




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